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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 FRAN-MARIE GRANT RICHARDS,                                  §
                                                             §
      Plaintiff,
                                                             §
                                                             §
 v.                                                                               CASE NO. 3:17-cv-03247-M
                                                             §
                                                             §
                                                             §
 NATIONAL CREDIT ADJUSTERS, LLC.,
                                                             §
      Defendant.                                             §

                          AGREED MOTION TO VACATE JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Plaintiff Fran-Marie Grant Richards and Defendant National Credit

Adjusters, LLC and files this Agreed Motion to Vacate Judgment, and will show this Court as

follows:

                                                        I.

         The Parties have reached a settlement in this matter. Accordingly, the parties agree and

request that the Default Judgment entered in the matter be vacated.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff and Defendant respectfully

requests that this Court grant their Agreed Motion to Vacate Judgment.




                                       [SIGNATURES ON NEXT PAGE]




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                                                       Respectfully submitted,

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                                                       ADJUSTERS, LLC


                                     CERTIFICATE OF SERVICE
      This is to certify that a true and correct copy of the foregoing document has been forwarded
via CM/ECF on this 27th day of June, 2018 to:
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                                                             /s/ Robbie Malone
                                                             ROBBIE MALONE



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